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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                   Case No. 1:09-cr-290

v.                                                          HON. JANET T. NEFF

COREY LAWRENCE HALL,

            Defendant.
____________________________________/


                            MEMORANDUM OPINION AND ORDER

       Defendant Corey Lawrence Hall has filed a motion for modification or reduction of sentence

(Dkt 536) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United States

Sentencing Guidelines, made retroactive by the Sentencing Commission. Probation filed its

Restricted Access Sentence Modification Report (Dkt 561) finding defendant ineligible for the

reduction. Defendant has filed a Response (Dkt 563).

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

       However, the defendant is ineligible for a reduction due to the felon in possession charge

controlling, therefore not resulting in a lower guideline range. Defendant preserves the issue for
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future consideration should the law change. See Cvijetinovic v. Eberlin, 617 F.3d 833,840 (6th Cir.

2010).

         Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

(Dkt 536) pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.




DATED: May 27, 2015                                   /s/ Janet T. Neff
                                                     JANET T. NEFF
                                                     United States District Judge




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